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IN THE UNITED STATES DISTRICT coURT FOR THE F“H’ B " !;'Q-- fm
WESTERN DISTRICT 0F TENNESSEE

 

AT MEMPHIS 05 nos 25 AH a= le
v § 61 H' n
UNITED STATES 0F AMERICA, CLEHW*§_"SC§§“;HST m
we of rs ~=»H§
Plaintiff,
v. cR. No.; 04-20233-M1

MARIO BARAHONA,

Defendant.

ORDER GRANTING MOTION TO CONTINUE REPORT DATE

 

IT APPEARING to the Court that Defendant’s motion to continue the
currently scheduled report date is well taken, not opposed and ought to be granted
IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that the report date
of the Defendant MARIO BARAHONA is hereby re-set to f icf . Q.‘o" , 2005 . g`f' q: 00 O`m'

nw

TH HONORABLE
JO P. McCALLA
DGE
UNITED STATES DISTRICT COURT

IT IS SO ORDERED.

 

This document entered on the docket Sheet 1n compliance
With Hu%e 35 an=:i/or 32(b) FF\CrP on "

   

UNITED S`TATE DRISTIC COUR - WETERN D'S'TRCT OFTENNESSEE

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This notice confirms a copy of the document docketed as number 24 in
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Honorable J on McCalla
US DISTRICT COURT

